                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
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MARIAH R. SMITH,

                       Plaintiff,
v.                                                                 Case No. 23cv01337-LA

CITY OF WAUWATOSA, et al.,

                  Defendants.
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                        STIPULATION FOR DISMISSAL
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       IT IS HEREBY stipulated and agreed by and between the Plaintiff, Mariah Smith, by her

attorneys, Gingras, Thomsen, & Wachs, and Defendants, Luke Vetter, Jeffrey Farina, Benjamin

Ziegler, and City of Wauwatosa, by their attorneys, Wirth + Baynard, that all causes of action as

set forth against Defendants in the Complaint may be dismissed, without prejudice, and without

costs and fees to either party.

       Dated this 8th day of January 2024.

                                                    WIRTH + BAYNARD
                                                    Attorneys for Defendants

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